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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


Shawn Suter,
                                                         Case No. 17-cv-1916 DWF/SER
                    Plaintiff,

v.

Chase Bank USA, N.A.,

                    Defendant.


               STIPULATION FOR DISMISSAL WITH PREJUDICE


         IT IS HEREBY STIPULATED, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by

and between Plaintiff Shawn Suter and Defendant Chase Bank USA, N.A., by and

through their undersigned counsel, that all claims in this action that were, or could have

been, asserted against Chase Bank USA, N.A. may be, and the same hereby are,

dismissed with prejudice. Each party shall bear their own costs and attorney’s fees.



Dated: July 10, 2017                            /s/ Bennett Hartz
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                                                Bennett Hartz (#393136)
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Dated: July 10, 2017                       /s/ Calvin P. Hoffman
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                                           ATTORNEYS FOR DEFENDANT




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